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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       CRIMINAL NO. 21-cr-00054 (TSC)
                v.                            :
                                              :
MATTHEW MAZZOCCO,                             :
                                              :
                       Defendant.             :

                        JOINT MOTION TO CONTINUE AND
                 TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

        The United States of America, by and through its attorney the Acting United States

Attorney for the District of Columbia, and the defendant, by and through his attorney Robbie Ward,

hereby move this Court to vacate the status conference presently scheduled for June 21, 2021, to

continue the matter for approximately one week, and further to exclude the time within which trial

must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends

of justice served by taking such actions outweigh the best interest of the public and the defendant

in a speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and

(iv).   The parties submit that they have reached a resolution this matter and are finalizing the

necessary paperwork.     In addition, at the last status hearing on this matter, the Court advised the

parties that it would need the finalized paperwork at least one week in advance of the plea hearing.

Accordingly, the parties are seeking a plea hearing during the week of June 28, 2021, and will

provide the Court with the finalized paperwork no later than close of business on Friday, June 18,

2021.

        The parties submit that under these circumstances, the ends of justice to be served by a one

week continuance outweigh the interests of the public and the defendant in a speedy trial, and the

Court should consequently exclude time under the Speedy Trial Act for the above stated reasons.
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       Undersigned counsel has provided a copy of this motion to Robbie Ward, Esq., counsel for

the defendant, and Ms. Ward informed the undersigned that this may be filed as a joint motion.

The parties respectfully request a date in the week of June 28, 2021.

       WHEREFORE, the parties respectfully requests that this Court grant the motion for an

approximately one week continuance of the above-captioned proceeding, and that the Court

exclude the time within which the trial must commence under the Speedy Trial Act, 18 U.S.C. §

3161 et seq., on the basis that the ends of justice served by taking such actions outweigh the best

interest of the public and the defendant in a speedy trial pursuant to the factors described in 18

U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv).

                                                  Respectfully submitted,

                                                  CHANNING D. PHILLIPS
                                                  Acting United States Attorney
                                                  DC. Bar No. 415793


                                       By:        /s/ Kimberley C. Nielsen
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